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                 (Rev. 3/04) Judgment in a Criminal Case
                 Attachment - Statement of Reasons
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                                               STATEMENT OF REASONS
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[U]   The court adopts the presentence report and guideline applications without change.

                                                                OR
[]    The court adopts the presentence report and guideline applications but with these changes:


      []         Chapter Two of the U.S.S.G. Manual determinations by court (including changes to base offense level or
                 spe cific offense c hara cteristics):

      []         Ch apter T hree of the U.S .S.G . M anual adjus tm ent determ ination s by court (including changes to victim -
                 related adjustments, role in the offense, obstruction of justice, multiple counts, or acceptance of
                 respon sibility):

      []         Chapter Four of the U.S.S.G. Man ual determ inations by court (including chang es to criminal history
                 cate gory or scores , care er offender, o r crim inal livelihood de term inations):

[]    The court adopts the presentence report with these comments or findings (including comm ents or factual
      findings concerning certain information in the presentence report that the Federal Bureau of Prisons may rely on
      when it mak es inmate classification, designation, or programming decisions. Specify court comm ents or findings,
      includ ing pa ragraph s in the pres ente nce repo rt.):

                           Gu ideline Ran ge D eterm ined by th e Co urt (Before Dep artures):
      Tota l Offe nse Level:
      Crim inal His tory Ca teg ory:
      Imprisonment Range:         to     months
      Supervised Release Range:           to    years
      Fine Range :$      to $


[U]   Fin e waived or b elow th e guideline ra nge because of in ability to pay.


[]    The sentence is within the guideline range, that range does not exceed 24 months, and the court finds no
      reaso n to d epa rt. Or
[]    The sentence is within the guideline range, that range does not exceed 24 months, and the court departs for
      the follow ing reaso n(s):

                                                                OR
[]    Th e se ntence is w ithin the gu idelin e ran ge, that range exc eed s 24 mon ths, and the spe cific sentence is
      impo sed for th e follow ing reaso ns(s):
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                                                     RESTITUTION DETERMINATIONS
        To tal Am oun t of Restitution : $

[]      For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
        restitu tion is not ordered because the num ber of identifiable victim s is so larg e as to m ak e re stitu tion im practica ble
        under 18 U .S.C. § 3663A (c)(3)(A).

[]      For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
        because dete rm ining com plex issues of fact and re lating them to th e cause or a m ount of the victim s' loss es would
        complicate or prolong the sentencing process to a degree that the need to provide restitution to any victim would be
        outweighed by the burde n on the sen tencing proces s under 18 U.S.C. § 366 3A(c)(3)(B).

[]      For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
        guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
        from the fashioning of a re stitution o rder outw eigh the need to provide re stitution to any victim s un der 1 8 U.S.C . §
        3663(a)(1)(B)(ii).

[]      Re stitution is not ordered fo r othe r reason s:

[]      Partial restitution is ordered und er 18 U.S .C. § 3 663 (c) fo r thes e rea son s:


                                                    DEP ART UR E (Ch eck all that app ly)

[U]     The sentence departs below the guideline range for the following reasons; or
[]      The sentence departs above the guideline range for the following rea son s:

        Pursuant to a Plea Agreement
[]      based on 5K1.1 motion of the government based on the defendant's substantial assistance;
[]      based on a government m otion pursuant to an early disposition program;
[]      based on a binding plea agreem ent for departure which the co urt has acce pted (cite below reason, if applicable);
[]      based on a plea agreement which cites the below reason for departure, which the court finds to be justified; or
[]      based on a plea agreement which states that the government will not oppose a defense departure motion and cites
        the below reason.

        Pursuant to a Motion Not Addressed in a Plea Agreement
[U]     pursuant to a 5K1.1 motion of the government based on the defendant's substantial assistance;
[]      pursuant to a government motion based on the below reason for departure; or
[]      pursuant to a defense motion based on the below reason for departure to which the government has not objected; or
[]      pursuant to a defense motion based on the below reason for departure to which the government has objected.
[]      Other than plea agreement or motion by the parties based on the below reason for departure.

Rea son (s) for D epa rture
[]    4A1.3 Criminal History Adequacy (explain): [ ] 5K2.8 Extreme Conduct              [ ] 5K2.16 Voluntary Disclosure of Offense
[]    5K2.0 Aggravating or Mitigating            [ ] 5K2.9 Criminal Purpose             [ ] 5K2.17 High-Capacity Semiautomatic Firearm
      Circumstances (explain):                   [ ] 5K2.10 Victim's Conduct            [ ] 5K2.18 Violent Street Gang
[]    5K2.1 Death                                [ ] 5K2.11 Lesser Harm                 [ ] 5K2.20 Aberrant Behavior
[]    5K2.2 Physical Injury                      [ ] 5K2.12 Coercion and Duress         [ ] 5K2.21 Dismissed and Uncharged Conduct
[]    5K2.3 Extreme Psychological Injury         [ ] 5K2.13 Diminished Capacity         [ ] 5K2.22 Age or Health of Sex Offenders
[]    5K2.4 Abduction or Unlawful Restraint      [ ] 5K2.14 Public Welfare              [ ] 5K2.23 Discharged Terms of Imprisonment
[]    5K2.5 Property Damage or Loss                                                     [ ] 5K3.1 Early Disposition, "fast-track" Program
[]    5K2.6 Weapons and Dangerous Instruments
[]    5K2.7 Disruption of Government Function
[]    Other or Explanations (e.g., 2B1.1 commentary, 5H1.1-5H1.6 or 5H1.11)(explain and state guideline and/or statutory basis):
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De fendan t’s Soc. Se c. No.:                 XXX-XX-XXXX
                                                                                     05/31/2005
Defendant’s Date of Birth:                    05/12/1960                   Date of Imposition of Judgment

De fendan t’s US M N o.:                           07018-028
                                                                             /s/ OLIVER W . WAN GER
Defendant’s Residence Address:                                              Signature of Judicial Officer
Frankfort, IN

Defendant’s Mailing Address:                                      OLIVER W. WANGER , United States District Judge
Frankfort, IN                                                             Nam e & Title of Judicial Officer


                                                                                   June 2, 2005
                                                                                      Da te
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                            SUPPLEMENTAL STATEMENT OF REASONS

            APPLICABILITY OF THE FEDERAL SENTENCING GUIDELINES


[]   The court applied the Guidelines and all relevant enhancements in this case.




[]   The court found the G uidelines unconstitutional in part, and im posed a sente nce in accordance with the constitutionally
     applied portions of the Guidelines.




[]   The court did not apply the federal sentencing guidelines at all in this case and imposed a discretionary sentence.




[]   Th e co urt took som e other ac tion (Please ex plain below.):




[]   This judgment includes an alternative sentence.
